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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


 In re:                                              Chapter 11

 Old LC, Inc. et al.,                                Case No. 19-11791 (BLS)

                                Debtors.

 Official Committee of Unsecured Creditors
 of Old LC, Inc., et al., for and on behalf of
 the estates of Old LC, Inc., et al.,
         Plaintiff,
 v.
                                                     Adv. No. 20-51002 (BLS)
 Upfront V, LP, Breakwater Credit
 Opportunities Fund, L.P., et al.,
       Defendants.


                                   SUGGESTION OF DEATH

           Counsel for Defendants Breakwater Credit Opportunities Fund, L.P., Saif Mansour,

 Aamir Amdani, Eric Beckman, Darrick Geant, and Joseph Kaczorowski in the above-referenced

 adversary proceeding notes the death, on October 27, 2021, of Saif Mansour, one of the

 defendants in this adversary proceeding.

           This information is true and correct to the best of the undersigned’s knowledge and

 belief.

 Dated: November 5, 2021                               MORGAN, LEWIS & BOCKIUS LLP


                                                 By:     /s/ Jody C. Barillare
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                                                 Opportunities Fund, L.P., Saif Mansour,
                                                 Aamir Amdani, Eric Beckman, Darrick
                                                 Geant, and Joseph Kaczorowski




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